                Case 16-09579-RLM-13                          Doc          Filed 11/30/20          EOD 11/30/20 12:27:49                    Pg 1 of 3
   Fill in this information to identify the case:

Debtor 1                 Monisa Ann Willis
                         _____________________________________________________________________


Debtor 2                 _____________________________________________________________________
(Spouse, if filing)

                                        Southern District of Indiana
United States Bankruptcy Court for the: ______________________________________________________________________________________________________

             1609579
Case number __________________________



 Official Form 410S1
 Notice of Mortgage Payment Change                                                                                                                      12/15

 If the debtor’s plan provides for payment of postpetition contractual installments on your claim secured by a security interest in the
 debtor’s principal residence, you must use this form to give notice of any changes in the installment payment amount. File this form
 as a supplement to your proof of claim at least 21 days before the new payment amount is due. See Bankruptcy Rule 3002.1.
 Name of creditor:                                                                                                             5
                                                                                                   Court claim no. (if known): _______________________
 Wells Fargo Bank, N.A.




                                                                                                   Date of payment change:
                                                                                                   Must be at least 21 days after date
                                                                                                   of this notice                           01/01/2021
                                                                                                                                            _____________


                                                                                                  New total payment:
                                                                                                                                             790.16
                                                                                                                                            $________________
                                                                                                  Principal, interest, and escrow, if any
 Last 4 digits of any number you use to
 identify the debtor’s account:                                      0 ____
                                                                    ____ 0 ____
                                                                            8 ____
                                                                                1

   Part 1:            Escrow Account Payment Adjustment

  1.        Will there be a change in the debtor’s escrow account payment?

            
            ✔   No
               Yes. Attach a copy of the escrow account statement prepared in a form consistent with applicable nonbankruptcy law. Describe the basis
                for the change. If a statement is not attached, explain why:



                Current escrow payment: $ _________________                                                 New escrow payment: $ _________________

  Part 2:             Mortgage Payment Adjustment

  2.        Will the debtor’s principal and interest payment change based on an adjustment to the interest rate on the debtor's
            variable-rate account?
            
            ✔   No
               Yes. Attach a copy of the rate change notice prepared in a form consistent with applicable nonbankruptcy law. If a notice is not
                attached, explain why:



                Current interest rate: __________________%                                      New interest rate: __________________%

                Current principal and interest payment: $ __________________                    New principal and interest payment: $ __________________

  Part 3:             Other Payment Change


       3.    Will there be a change in the debtor’s mortgage payment for a reason not listed above?
                 No
             ✔
                 Yes. Attach a copy of any documents describing the basis for the change, such as a repayment plan or loan modification agreement.
                  (Court approval may be required before the payment change can take effect.)
                Reason for change:
                Payment change resulting from an increase in premium for Mortgage Insurance.



                                                   792.73
                      Current mortgage payment: $ _________________                                                        790.16
                                                                                                   New mortgage payment: $ _________________
 Official Form 410S1                                                    Notice of Mortgage Payment Change                                             page 1
              Monisa Ann Willis                                                                                1609579
        Case 16-09579-RLM-13
      Debtor 1                              Doc Last Name
                                                      Filed 11/30/20
              ________________________________________________________
              First Name        Middle Name
                                                                                    EODCase
                                                                                        11/30/20        12:27:49
                                                                                            number (if known)             Pg 2 of 3
                                                                                                              ______________________



 Part 4:      Sign Here


 The person completing this Notice must sign it. Sign and print your name and your title, if any, and state your address and telephone number.


 Check the appropriate box.

    
    ✔   I am the creditor.

       I am the creditor’s authorized agent.



 I declare under penalty of perjury that the information provided in this claim is true and correct to the best of my knowledge,
 information, and reasonable belief.




     /s/Tavon Taylor
      ______________________________________________________________
      Signature
                                                                                      11/30/2020
                                                                                Date _______________




 Print:______________________________________________________________
        TAYLOR,TAVON                                                             VP Loan Documentation
                                                                                ____________________________________________________________
        First Name            Middle Name             Last Name                 Title


 Company Wells Fargo Bank, N.A.
         ____________________________________________________________

 Address    MAC N9286-01Y
            _____________________________________________________________
            Number                  Street

            1000 Blue Gentian Road
            _____________________________________________________________
            Address 2

             Eagan                                   MN      55121-7700
            _____________________________________________________________
              City                                      State        ZIP Code



                     800-274-7025                                                NoticeOfPaymentChangeInquiries@wellsfargo.com
 Contact phone _________________________                                        ____________________________________________________________
                                                                                Email




Official Form 410S1                                     Notice of Mortgage Payment Change                                              page 2
           Case 16-09579-RLM-13               Doc         Filed 11/30/20        EOD 11/30/20 12:27:49            Pg 3 of 3
                      UNITED STATES BANKRUPTCY COURT
                                                        Southern District of Indiana


                                                    Chapter 13 No. 1609579
                                                    Judge: Robyn L. Moberly

In re:
Monisa Ann Willis
                                           Debtor(s).

                                           CERTIFICATE OF SERVICE
I hereby certify that this Notice, including all attachments, is being served on or before December 01, 2020 via filing with the US
Bankruptcy Court's CM ECF system or by mailing or providing a copy of this document to a vendor for mailing: By U.S. Postal
Service First Class Main Postage Prepaid or FedEx.


Debtor:                             By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                     Monisa Ann Willis
                                     11340 Long Lake Drive

                                     Indianapolis IN 46235



                                    By U.S. Postal Service First Class Mail Postage Prepaid or FedEx
                                     N/A




Debtor’s Attorney:                   By Court's CM/ECF system registered email address
                                     J. Andrew Sawin
                                     Sawin, Shea & Des Jardines LLC
                                     6100 N. Keystone Ave. Ste. 620

                                     Indianapolis IN 46220


                                     By Court's CM/ECF system registered email address
                                     N/A




Trustee:                             By Court's CM/ECF system registered email address
                                     Ann M. DeLaney
                                     Office of Ann M. Delaney
                                     PO Box 441285

                                     Indianapolis IN 46244

                                                           _______________________________________________
                                                           /s/Tavon Taylor
                                                             VP Loan Documentation
                                                             Wells Fargo Bank, N.A.
